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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
	  

DISPLAY TECHNOLOGIES, LLC,


                     Plaintiff,                      Civil Action No. 2:17-cv-193
                v.                                   JURY TRIAL DEMANDED
NIKON, INC.

                     Defendant.


                        CORPORATE DISCLOSURE STATEMENT

	      Plaintiff Display Technologies, LLC is a Texas limited liability company.   Display

Technologies, LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.

Dated: March 13, 2017                            Respectfully submitted,

                                                 /s/ Thomas C. Wright
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